Case 2:10-md-02179-CJB-DPC Document 1440-23 Filed 02/28/11 Page 1 of 22




     EXHIBIT 19
  Case
   Case2:10-md-02179-CJB-DPC
         2:05-cv-04206-EEF-JCW Document
                                Document1440-23 Filed
                                         104 Filed    02/28/11Page
                                                    12/29/05    Page 2 of
                                                                   1 of 2122



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOmSIANA                                   2005D£C 29
                                                                                           n I_ " _                                        M, 9: '3;
PATRICK JOSEPH TURNER, ET AL.                               *      CIVIL ACTION           Lbtu    11,                    .

                                                                                            nJLt-}tf/VJIYTE
VERSUS                                                      *      NO. 05-4206
                                                                   CONSOLIDATED CASE
                                                                                             r-
MURPHY OIL USA, INC.                                        *      SECTION "L" (2)

*********************************
THIS DOCUMENT RELATES TO ALL CASES

                                   ORDER AND REASONS

       Before the Court are some seven motions to dismiss the Administrative Master

Complaint filed by Defendant, Murphy Oil USA, Inc., pursuant to Rule l2(b)(6) and l2(c) ofthe

Federal Rules of Civil Procedure. The motions came on for hearing with oral argument on

December 20,2005. For the following reasons, Defendant's Rule l2(b)(6) Motion to Dismiss

Plaintiffs' Class Action Administrative Master Complaint for Lack of Standing is DENIED.

Defendant's Rule l2(b)(6) Motion to Dismiss Plaintiffs' Claims for Punitive Damages is




                                                                                                      that where appropriate, the Court “dismisses causes of action in all cases” not only in
                                                                                                      Turner v. Murphy Oil USA, Inc., No. 05-4206 (Dec. 29, 2005) (Fallon, J.) (ordering
DENIED. Defendant's Rule l2(b)(6) Motion to Dismiss Plaintiffs' Claims under CERCLA,

RCRA, OPA and LA.R.S. 30:2015.1 for Failure to State a Claim Upon Which Relief Can Be

Granted is GRANTED IN PART, DENIED IN PART, and DENIED IN PART AS MOOT.

Defendant's Rule 12(b)(6) Motion to Dismiss Plaintiffs' Fraud Claims or Alternatively Motion


                                                                                                      the Administrative Complaint) (emphasis added).
for Judgment on the Pleadings on Plaintiffs' Class Allegations is GRANTED. Defendant's Rule

12(b)(6) Motion to Dismiss Plaintiffs' Claims for Personal Injury or Alternatively Motion for

Judgment on the Pleadings on Plaintiffs' Request for Class Certification is DENIED.

Defendant's Rule 12(b)(6) Motion to Dismiss Plaintiffs' Claims for Mental Anguish or

Alternatively Motion for Judgment on the Pleadings on Plaintiffs' Request for Class Certification
                                                                                                      Ex. 19




is DENIED. Defendant's Rule 12(b)(6) Motion to Dismiss Plaintiffs' Claims for Fear~_IRiS~
                                                                                       of /
                                                                                 _      cess  _
                                                                                  X Dktd_ _- -
                                                                                      _   CtRmDep                                                                   _
                                                                                      _   Doc.No                                                         _
   Case
    Case2:10-md-02179-CJB-DPC
          2:05-cv-04206-EEF-JCW Document
                                 Document1440-23 Filed
                                          104 Filed    02/28/11Page
                                                     12/29/05    Page 3 of
                                                                    2 of 2122



· Future Disease or Illness or Alternatively Motion for Judgment on the Pleadings on Plaintiffs'

 Request for Class Certification is GRANTED.

 I. Factual and Procedural Background

        This litigation involves twenty-six consolidated class action lawsuits filed by residents of

 St. Bernard Parish,·Louisiana against Defendant Murphy Oil USA, Inc. The incident at issue in

 all suits is a discharge of oil that occurred at the Defendant's Meraux, Louisiana oil refinery

 sometime in the first week of September 2005. It is alleged that shortly after Hurricane Katrina

 an oil tank discharged thousands ofbarrels of oil into the area surrounding the refinery. Plaintiffs

 are homeowners and residents in the area near the oil refinery, and they allege property damage,

 personal injuries, and mental anguish resulting from the discharge, among other claims. These

 cases have been consolidated, and Plaintiffs have filed a Motion for Class Certification which is

 set for hearing on January 12, 2006.

        At the request of the Court, Plaintiffs and Defendant jointly compiled an Administrative

 Master Complaint, which was filed on November 28, 2005. This complaint consolidates all

 claims raised by Plaintiffs in the various pending lawsuits. In early December 2005, Defendants

 filed seven motions to dismiss portions of the Administrative Master Complaint pursuant to Rule

 12(b)(6) of the Federal Rules of Civil Procedure. Four ofthese motions ask the Court in the

 alternative to grant judgment on the pleadings pursuant to Rule 12(c) of the Federal Rules of

 Civil Procedure, striking the Plaintiffs' class action allegations.

        The Court will discuss the nature of a master complaint, the standards applicable to Rule

 12(b)(6) and Rule 12(c) motions, and the motions in tum below as follows:

         1. Rule 12(b)(6) Motion to Dismiss Plaintiffs' Class Action Administrative Master


                                                   -2-
   Case
    Case2:10-md-02179-CJB-DPC
          2:05-cv-04206-EEF-JCW Document
                                 Document1440-23 Filed
                                          104 Filed    02/28/11Page
                                                     12/29/05    Page 4 of
                                                                    3 of 2122



· Complaint for Lack of Standing;

         2. Rule 12(b)(6) Motion to Dismiss Plaintiffs' Claims for Punitive Damages;

         3. Rule 12(b)(6) Motion to Dismiss Plaintiffs' Claims under CERCLA, RCRA, OPA and

 LA.R.S. 30:2015.1 for Failure to State a Claim Upon Which Relief Can Be Granted;

         4. Rule 12(b)(6) Motion to Dismiss Plaintiffs' Fraud Claims or Alternatively Motion for

 Judgment on the Pleadings on Plaintiffs' Class Allegations;

        5. Rule 12(b)(6) Motion to Dismiss Plaintiffs' Claims for Personal Injury or Alternatively

 Motion for Judgment on the Pleadings on Plaintiffs' Request for Class Certification;

        6. Rule 12(b)(6) Motion to Dismiss Plaintiffs' Claims for Mental Anguish or

 Alternatively Motion for Judgment on the Pleadings on Plaintiffs' Request for Class

 Certification; and

        7. Rule 12(b)(6) Motion to Dismiss Plaintiffs' Claims for FearlRisk of Future Disease or

 lllness or Alternatively Motion for Judgment on the Pleadings on Plaintiffs' Request for Class

 Certification.

        a.        Nature of the Master Complaint and Dispositive Motions Regarding It

        Rule 42(a) of the Federal Rules of Civil Procedure provides that a district court may

 consolidate actions involving common questions of law and fact, and may "make such orders

 concerning proceedings therein as may tend to avoid unnecessary costs or delay." Many courts,

 including this court, have interpreted Rule 42 to permit the filing of a master complaint (or

 consolidated complaint) which brings together all claims and theories of liability presented in the

 underlying cases. See Katz v. Realty Equities Corp., 521 F.2d 1354, 1358-59 (2d Cir. 1975); In

 re Propulsid Prod. Liab. Litig., 208 F.R.D. 133, 141 (E.D. La. 2002) (Fallon, J.); In re


                                                 -3-
   Case
    Case2:10-md-02179-CJB-DPC
          2:05-cv-04206-EEF-JCW Document
                                 Document1440-23 Filed
                                          104 Filed    02/28/11Page
                                                     12/29/05    Page 5 of
                                                                    4 of 2122



· Wirebound Boxes Antitrust Litig., 128 F.R.D. 262, 264-65 (D. Minn. 1989); In re Equity Funding

 Corp. ofAm. Sec. Litig., 630 F.Supp. 161, 175-76 (C.D. Cal. 1976).

        Although the master complaint consolidates all claims, "consolidation is permitted as a

 matter of convenience and economy in administration, but does not merge the suits into a single

 cause, or change the rights of the parties, or make those who are parties in one suit parties in

 another." Johnson v. Manhattan Ry. Co., 289 U.S. 479,496-97 (1933). "Consolidated actions

 retain their separate character." In re TransTexas Gas Corp., 303 F.3d 571,577 (5th Cir. 2002).

 The master complaint is a procedural device which is used to streamline pretrial motions and

 discovery; however, the master complaint does not supersede the underlying cases in such a way

 as to render them non-existent. In re Ford Motor Co./Citibank (South Dakota), NA., 264 F.3d

 952,964-65 (9th Cir. 2001). The master complaint merely becomes the operative pleading in the

 case, and does not dissolve the individual cases. Id. at 965. See also Diana E. Murphy, Unified

 and Consolidated Complaints in MultiDistrict Litigation, 132 F.R.D. 597,597-98 (1991)

 (discussing the use and consequences of master complaints in complex litigation).

        The Defendant's present motions to dismiss and motions for judgments on the pleadings

 regarding class certification seek to dismiss portions of the Administrative Master Complaint. It

 follows from the principles stated in the case law that these motions do not automatically dismiss

 the parallel causes of action pending in the individual cases. Where appropriate in this Order,

 however, the Court dismisses causes of action in all cases, or renders judgment on the pleadings

 in all cases. The Court's rulings shall not only be applicable only to the Administrative Master

 Complaint but also to the individual cases.

        b.      Standards Applicable to Rule 12(b)(6) Motions Generally


                                                  -4-
  Case
   Case2:10-md-02179-CJB-DPC
         2:05-cv-04206-EEF-JCW Document
                                Document1440-23 Filed
                                         104 Filed    02/28/11Page
                                                    12/29/05    Page 6 of
                                                                   5 of 2122



       The Federal Rules of Civil Procedure pennit a defendant to seek dismissal of a complaint

based on the "failure to state a claim upon which relief can be granted." Fed. R. Civ. P. 12(b)(6).

When considering a motion to dismiss under Rule 12(b)(6), a district court should construe the

complaint liberally in favor of the plaintiff, assuming all factual allegations to be true. See

Leleux v. United States, 178 F.3d 750, 754 (5th Cir. 1999). Rule 12(b)(6) motions are viewed

with disfavor and are rarely granted. See id. However, a complaint should be dismissed if "it

appears beyond doubt that the plaintiff can prove no set of facts in support of his claim which

would entitle him to relief." Conley v. Gibson, 355 U.S. 41, 45-46 (1957).

       c.      Standards Applicable to Rule 12(c) Motions Generally

       Rule 12(c) of the Federal Rules of Civil Procedure provides that "[a]fter the pleadings are

closed but within such time as not to delay the trial, any party may move for judgment on the

pleadings." Judgment on the pleadings is intended to dispose of cases in which the material facts

are not in dispute and when the district court may render judgment by looking to the substance of

the pleadings and any judicially noticed facts. Hebert Abstract Co. v. Touchstone Props., Ltd.,

914 F.2d 74, 76 (5th Cir. 1990) (per curiam). Similar to a Rule 12(b)(6) motion, the court must

accept all well-pleaded facts as true and construe the complaint in the light most favorable to the

plaintiff. Jones v. Greninger, 188 F.3d 322,324 (5th Cir. 1999) (per curiam). "The issue is not

whether the plaintiff will ultimately prevail, but whether he is entitled to offer evidence to

support his claim. Thus, the court should not dismiss the claim unless the plaintiff would not be

entitled to relief under any set of facts or any possible theory that he could prove consistent with

the allegations in the complaint." ld. at 324 (internal citations omitted). In Defendant's present

motions, Murphy Oil asks the Court to enter judgment on the pleadings striking the Plaintiffs'


                                                 -5-
   Case
    Case2:10-md-02179-CJB-DPC
          2:05-cv-04206-EEF-JCW Document
                                 Document1440-23 Filed
                                          104 Filed    02/28/11Page
                                                     12/29/05    Page 7 of
                                                                    6 of 2122



· class action allegations from the Administrative Master Complaint. This would prevent the

 Plaintiffs from seeking class certification regarding particular causes of action raised in the

 master complaint.

 II. Motion to Dismiss Plaintiffs' Class Action Complaint for Lack of Standing

         Murphy Oil asks the Court to dismiss the Administrative Master Complaint regarding 26

 to 34 of the named plaintiffs in the individual cases on the basis that these plaintiffs do not reside

 in the area affected by the oil discharge. Defendant identifies 34 plaintiffs who do not live within

 the area set forth by the EPA on November 8, 2005 as affected by the spill. Defendant also states

 that 26 of those 34 plaintiffs do not resid.e in the much-larger affected area claimed by Plaintiffs'

 expert witness in an earlier hearing in this matter. Defendant argues that, because these plaintiffs

 do not reside in an area alleged to be affected by the oil discharge, these plaintiffs should be

 dismissed for lack of standing because they have not suffered injury in fact.

         Plaintiffs respond that the six named class representatives reside within an area that all

 agree was affected by the oil discharge. Plaintiffs argue that the residence of any named

 plaintiffs is irrelevant at this stage. Plaintiffs further argue that the affected area has not yet been

 determined by the Court, so the Defendant's motion is premature.

         The Defendant's motion is not proper at this time. Defendant is correct that injury-in-fact

 is a requirement of standing under Article III of the United States Constitution. Lujan v.

 Defenders afWildlife, 504 U.S. 555, 560-61 (1992). However, "[a]t the pleadings stage, general

 factual allegations of injury resulting from the defendant's conduct may suffice" for standing

 purposes, because the court must presume that general allegations embrace the specific facts that

 are necessary to support the plaintiffs claim. [d. at 561. Plaintiffs have generally alleged that


                                                   -6-
   Case
    Case2:10-md-02179-CJB-DPC
          2:05-cv-04206-EEF-JCW Document
                                 Document1440-23 Filed
                                          104 Filed    02/28/11Page
                                                     12/29/05    Page 8 of
                                                                    7 of 2122



· they reside near the oil refinery and suffered injury as a result of the oil discharge. Moreover, the

 extent of the affected area is an issue pregnant with facts, and thus is inappropriate for a Rule

 12(b)(6) motion. The standing determination cannot be made prior to certification of the class

 and determination ofthe affected area. Accordingly, the Defendant's motion to dismiss for lack

 of standing is DENIED.

 III. Motion to Dismiss Plaintiffs' Claims for Punitive Damages

         In Count ill of Plaintiffs' Administrative Master Complaint, Plaintiffs allege that

 Defendant Murphy Oil is liable for punitive damages under common law strict liability, which

 Plaintiffs allege is applicable "to certain issues and claims under Louisiana choice-of-Iaw

 provisions." Plaintiffs do not request punitive damages under Louisiana law in any other counts

 of the complaint.

         Defendants argue that the request for punitive damages in Count ill and in the Prayer for

 Relief should be dismissed. Defendants argue that Louisiana law clearly applies to the present

 dispute, and that, under Louisiana law, punitive damages are not available for the conduct alleged

 in the complaint. In addition, Defendant argues that the law of another state would not apply to

 an award of punitive damages in this case. Under Louisiana Civil Code article 3546, a Louisiana

 court may award punitive damages if they are available under another state's law, ifthe injurious

 conduct of the defendant takes place in that state, and if either the plaintiffs injuries or the

 defendant's domicile take place in that state. Moreover, Defendant contends that even if Murphy

 Oil is considered to be domiciled in Arkansas, Louisiana Civil Code article 3548 provides that

 Louisiana should be the domicile of Murphy Oil in this matter. Article 3548 provides that:



                                                   -7-
  Case
   Case2:10-md-02179-CJB-DPC
         2:05-cv-04206-EEF-JCW Document
                                Document1440-23 Filed
                                         104 Filed    02/28/11Page
                                                    12/29/05    Page 9 of
                                                                   8 of 2122



               For the purposes of this Title, and provided it is appropriate under
               the principles of Article 3542, a juridical person that is domiciled
               outside this state, but which transacts business in this state and
               incurs a delictual or quasi-delictual obligation arising from activity
               within this state, shall be treated as a domiciliary of this state.


Defendants argue that Civil Code articles 3546 and 3548 mandate that punitive damages are not

available in this case, as the alleged injuries to plaintiffs' properties and the alleged injurious

conduct both occurred in Louisiana.

       Plaintiffs respond that Arkansas law provides for punitive damages when the defendant's

conduct demonstrates wantonness or conscious indifference. Plaintiffs argue that part of

Defendant's injurious conduct involves actions at Defendant's corporate headquarters in

Arkansas; discovery would be needed to develop the facts surrounding this contention.

According to Plaintiffs, if Defendant's conduct at its corporate headquarters is injurious to

Plaintiffs, then Plaintiffs satisfy Louisiana's choice-of-Iaw rule under Louisiana Civil Code

article 3546 because both Defendant's domicile and the injurious conduct took place in

Arkansas. Plaintiffs' master complaint, under Count I, alleges a range of conduct that includes

allegations of "indifference" (Paragraph N) and allegations that Defendant failed to develop and

implement proper emergency and safety plans, activities that would likely take place at corporate

headquarters. In addition, Plaintiffs argue that Code article 3548 should not apply to this case,

and Defendant's domicile should not be treated as Louisiana. Plaintiffs point to the language of

article 3548 that states that the rule applies "provided it is appropriate under the principles of

Article 3542[.]" Article 3542 provides that the tort law of another state would apply if another

state's policies would be seriously impaired if its law were not applied to the issue at hand, with



                                                  -8-
   Case 2:10-md-02179-CJB-DPC
     Case  2:05-cv-04206-EEF-JCWDocument
                                 Document1440-23 Filed12/29/05
                                           104 Filed   02/28/11 Page
                                                                 Page9 10 of 22
                                                                       of 21



· reference to certain enumerated factors. Plaintiffs argue that this provision mandates that the

 punitive damages law of Arkansas would apply to this case because of Arkansas's strong policy

 against corporate fraud and negligence.

         Considering a motion to dismiss pursuant to Rule 12(b)(6), the Court may not dismiss a

 claim unless it appears beyond doubt that the plaintiff can prove no set of facts which would

 entitle him or her to relief. Conley v. Gibson, 355 U.S. 41, 45-46 (1957). Plaintiffs' arguments

 regarding the application of Arkansas law to this dispute are highly theoretical. The oil discharge

 occurred in Louisiana and caused property damage and personal injury to Louisiana residents. It

 is difficult to believe that Arkansas' policy against corporate fraud would override Louisiana's

 interest in redressing injuries to its citizens. However, while this issue may be appropriate for

 summary judgment, the Court cannot decide this issue upon a motion to dismiss under Rule

 12(b)(6). Plaintiffs have alleged a plausible theory of recovery for punitive damages.

 Accordingly, Defendant's motion to dismiss Plaintiffs' claims for punitive damages is hereby

 DENIED.

 III. Motion to Dismiss Plaintiffs' Claims Under CERCLA, RCRA, OPA, and La. R.S.

 30:2015.1

        Count VI of Plaintiffs' Administrative Master Complaint states a notice of intent to sue

 Defendant under the Comprehensive Environmental Response, Compensation and Liability Act

 ("CERCLA"), 42 U.S.C. § 9601 et seq., and the Resource Conservation and Recovery Act

 ("RCRA"), 42 U.S.C. § 6901 et seq. Additionally, Plaintiffs allege that Defendant is liable for

 removal and clean-up costs of the oil discharge under the Oil Pollution Act ("OPA"), 33 U.S.C. §



                                                 -9-
   Case
    Case2:10-md-02179-CJB-DPC
          2:05-cv-04206-EEF-JCW Document
                                 Document1440-23 Filed
                                          104 Filed    02/28/11Page
                                                     12/29/05    Page
                                                                    1011
                                                                       of of
                                                                          2122



· 2702 et seq. Count vn of the complaint alleges a claim under Louisiana Revised Statutes section

 30:2015.1 for clean-up and remediation of all threats or pollution to usable groundwater.

        Defendant asks the Court to dismiss all of these claims for different reasons. Regarding

 the Plaintiffs' CERCLA claim, Defendant argues that CERCLA does not apply to crude oil.

 Moreover, Defendant contends that crude oil is exempted from RCRA, RCRA does not provide

 for money damages, and RCRA requires notice of intent to sue. Regarding the OPA claim,

 Murphy argues that OPA only applies to spills occurring on navigable waterways. Because this

 spill allegedly occurred on land, Murphy argues that OPA is inapplicable. Moreover, Defendant

 argues that Plaintiffs have failed to comply with OPA's requirement that a plaintiff give notice to

 a defendant 90 days prior to suit. Additionally, Defendant alleges that Plaintiffs' state law claim

 is premature because Plaintiffs have not demonstrated that they have notified the State of

 Louisiana prior to bringing suit, as required by La. R.S. 30:2015.1(B).

        Regarding CERCLA and RCRA, Plaintiffs counter that these statutes would apply to the

 present dispute because ''tank bottoms" and petroleum hydrocarbons are at issue. "Tank

 bottoms" are sediments and other materials that settle out from oil held in tanks over a period of

 time, and petroleum hydrocarbons are compounds found in crude oil. Plaintiffs contend that tank

 bottoms and petroleum hydrocarbons are concentrated hazardous substances that do not fall

 within the "crude oil" exemptions under CERCLA and RCRA. Plaintiffs cite to a Ninth Circuit

 case, Case v. Getty Oil Co., 4 F.3d 700, 707 (9th Cir. 1993), in which an appellate court found

 that CERCLA's exemption of crude oil did not include crude oil tank bottoms. In addition,

 Plaintiffs argue that the Defendant's motion to dismiss the RCRA claim is premature because

 Plaintiffs have not yet brought suit under that statute.

                                                  -10-
 Case
  Case2:10-md-02179-CJB-DPC
        2:05-cv-04206-EEF-JCW Document
                               Document1440-23 Filed
                                        104 Filed    02/28/11Page
                                                   12/29/05    Page
                                                                  1112
                                                                     of of
                                                                        2122



       Regarding OPA, Plaintiffs ask the Court to waive the 90-day notice requirement under

the statute under the Court's equitable powers, and cite the Plaintiffs' need for speedy relief after

Hurricane Katrina. Moreover,Plaintiffs argue that OPA is applicable to the present dispute

because the statute applies to navigable waterways and shorelines. According to Plaintiffs,

because the hurricane flooded the entire area at issue, the entire affected area was a "navigable

waterway" at the time of the oil discharge, as the Gulf of Mexico had inundated the area via the

Mississippi River Gulf Outlet. Regarding the state law claim, Plaintiffs also ask the Court to

waive the notice requirements under that statute, and argue that there was no need for Plaintiffs

to give notice to the state because the oil spill was so widely publicized.

       Because Plaintiffs have only indicated that they intend to sue under CERCLA and RCRA,

Defendant's motion to dismiss the CERCLA and RCRA claims is premature. Therefore, the

Court DENIES IN PART AS MOOT the motion to dismiss regarding those claims. The

Administrative Master Complaint makes clear that the Plaintiffs have not brought suit under

CERCLA and RCRA at this time. To the extent that Plaintiffs have brought RCRA claims in

individual cases, the Court GRANTS IN PART Defendant's motion, and DISMISSES the RCRA

claims as premature. Plaintiffs have not alleged that they have complied with the statute's notice

requirements, and those requirements are a "mandatory condition[ ] precedent" to bringing a

RCRA claim. Hallstrom v. Tillamook County, 493 U.S. 20, 31 (1989). However, to the extent

that Plaintiffs have brought CERCLA claims in individual cases, the Court DENIES IN PART

Defendant's motion to dismiss. Under Rule 12(b)(6), the Court is obligated to construe the

complaint liberally and to consider any reasonable theory under which the plaintiff may be

entitled to relief. The Ninth Circuit has found that tank bottoms fall outside ofCERCLA's crude


                                                -11-
   Case
    Case2:10-md-02179-CJB-DPC
          2:05-cv-04206-EEF-JCW Document
                                 Document1440-23 Filed
                                          104 Filed    02/28/11Page
                                                     12/29/05    Page
                                                                    1213
                                                                       of of
                                                                          2122



· oil exemption; thus, Plaintiffs have provided a possible theory of recovery under this statute.

         Regarding OPA, Plaintiffs' arguments regarding navigable waterways are somewhat

 novel, and, depending upon the evidence adduced, the claims may not withstand a motion for

 summary judgment. However, the Court need not decide whether Plaintiffs have properly

 alleged an OPA claim because it is clear that Plaintiffs have failed to comply with the statute's

 90-day notice requirement. Although Plaintiffs ask the Court to waive the notice requirement,

 the case law indicates that notice in the form of presentment of a claim is a "mandatory condition

 precedent" to bringing suit under OPA. Boca Ciega Hotel, Inc. v. Bouchard Transp. Co., 51

 F.3d 235,240 (11th Cir. 1995). Thus, the Court declines to waive the notice requirement.

 Accordingly, the Court GRANTS IN PART the motion to dismiss the OPA claim because the

 claim is premature.

         Regarding the Plaintiffs' claim under La. RS. 30:2015.1, the Court DENIES IN PART

 Defendant's motion to dismiss this claim. La. RS. 30:2015.1(B) provides no time frame for

 notice to the relevant state agencies except to provide that the notice come after filing of the

 petition. 1 Plaintiffs may still comply with the notice requirements under the statute. While

 Plaintiffs request that the Court waive the notice requirement, the Court declines to do so. The

 notice requirement is not burdensome and serves the purpose of allowing the state agencies to

 intervene in the litigation.




         1 The Court agrees with Plaintiffs that the language cited by Defendants from, Frank C.
 Minvielle, L.L. C. v. IMC Global Operations, L.L. c., 380 F.Supp.2d 755 (W.D. La. 2004), is dicta
 and is not binding upon this Court. The Western District of Louisiana stated in Minvielle that La.
 RS. 30:2015.1 did not apply to the facts of that case, id. at 761, and the language of the statute
 clearly contemplates that notice be given after, not prior to, the filing of the petition.

                                                 -12-
   Case
    Case2:10-md-02179-CJB-DPC
          2:05-cv-04206-EEF-JCW Document
                                 Document1440-23 Filed
                                          104 Filed    02/28/11Page
                                                     12/29/05    Page
                                                                    1314
                                                                       of of
                                                                          2122



· V. Motion to Dismiss Plaintiffs' Fraud Claims, or Alternatively, Motion for Judgment on

 the Pleadings on Plaintiffs' Class Allegations

          Count vrn ofthe Administrative Master Complaint alleges that Murphy Oil is liable for

 fraud based upon statements made in letters to the public and posted on Murphy Oil's Web site

 about the oil spill. Specifically, Plaintiffs contend that Murphy's repeated statements that there is

 no continuing hazard to homeowners are patently false, in light of EPA pronouncements that the

 properties are unsafe to enter without protective gear. Plaintiffs further allege that Murphy Oil

 knew these statements were "false or incapable of being proven true" at the time they were made,

 and that the Defendant made these statements in order to gain an unfair advantage over

 homeowners in the form of "early settlement of claims on a reduced value basis."

          Defendant challenges Plaintiffs' fraud claim by arguing that it fails to comply with Rule

 9(b) of the Federal Rules of Civil Procedure for pleading fraud with specificity. Defendants

 object to Plaintiffs' use of global allegations and to Plaintiffs' failure to show individual reliance

 upon Murphy Oil's statements. Alternatively, Defendants argue that, even if the fraud

 allegations survive a motion to dismiss, they are inappropriate for class certification under

 prevailing Fifth Circuit jurisprudence because individual issues predominate over those of the

 class.

          Plaintiffs counter that they have pled the fraud claim at issue with·enough particularity to

 survive a motion to dismiss under Louisiana law and Rule 9(b) ofthe Federal Rules of Civil

 Procedure. Plaintiffs argue that they stated the time, place, and contents of Murphy's alleged

 false statements and where they were published. Moreover, Plaintiffs argue that they alleged that



                                                  -13-
   Case
    Case2:10-md-02179-CJB-DPC
          2:05-cv-04206-EEF-JCW Document
                                 Document1440-23 Filed
                                          104 Filed    02/28/11Page
                                                     12/29/05    Page
                                                                    1415
                                                                       of of
                                                                          2122



· Murphy sought to obtain early settlement through the alleged misrepresentations, and that

 Plaintiffs relied upon the misstatements. Additionally, regarding judgment on the pleadings,

 Plaintiffs argue that part of their fraud claim is Murphy's fraudulent omissions. According to

 Plaintiffs, in cases of nondisclosure, reliance is difficult to prove, and other courts have held that

 reliance is not a prerequisite to recovery. Plaintiffs argue that this is particularly true in cases

 involving a corporation's public statements to a large group of consumers, and that a court may

 accept statistical evidence of the people affected by the misstatements.

        Plaintiffs' fraud claim is properly pled, and survives a motion to dismiss. Plaintiffs have

 identified Murphy's specific misstatements and have generally alleged an intent to deceive or

 gain unjust advantage, as r6quired under Louisiana law. La. Civ. Code art. 1953. The elements

 of a successful fraud claim under Louisiana law are: (1) intent to defraud by defendant; and (2)

 actual or potential damages to plaintiff. See St. Paul Mercury Ins. Co. v. Williamson, 224 F.3d

 425 (5th Cir. 2000). Importantly, individual reliance is an element of a fraud claim in Louisiana.

 Abbott v. Equity Group, Inc., 2 F.3d 613,624 (5th Cir. 1993) (applying Louisiana law).

 Plaintiffs' allegations are also specific enough to comply with Rule 9(b) of the Federal Rules of

 Civil Procedure. Rule 9(b) requires that the plaintiff allege the particulars of time, place, and

 contents of the false representations, as well as the identity ofthe person making the

 representation and what that person obtained thereby. Tuchman v. DSC Communications Corp.,

 14 F.3d 1061, 1068 (5th Cir. 1994). Plaintiffs have identified the intent to defraud and Murphy's

 statements that form the basis of their fraud claim, and they have alleged that Plaintiffs relied

 upon Murphy's statements.

         However, Defendant is correct that class certification of the fraud claim is inappropriate

                                                   -14-
   Case
    Case2:10-md-02179-CJB-DPC
          2:05-cv-04206-EEF-JCW Document
                                 Document1440-23 Filed
                                          104 Filed    02/28/11Page
                                                     12/29/05    Page
                                                                    1516
                                                                       of of
                                                                          2122



· under binding case law, and the Court shall enter judgment on the pleadings on this issue. Fifth

 Circuit law is clear that fraud must be decided on a case-by-case basis and cannot be certified as

 a class action when individual reliance is an issue. Sandwich Chefof Texas, Inc. v. Reliance

 Nat'lIndem. Ins. Co., 319 F.3d 205, 219 (5th Cir. 2003); Castano v. American Tobacco Co., 84

 F.3d 734, 745 (5th Cir. 1996). Because individual reliance is an element ofa fraud claim under

 Louisiana law, class certification of Plaintiffs' fraud claims would be inappropriate. The cases

 cited by Plaintiffs allowing a court to waive the requirement of individual reliance are from other

 jurisdictions, and contradict the Fifth Circuit's holding in Castano that fraud claims cannot be

 certified as a class action. 2 Accordingly, the Court STRIKES the class action allegations

 regarding the fraud claim from the Administrative Master Complaint, and GRANTS the

 Defendant's motion for judgment on the pleadings. However, this ruling does not affect the

 rights of individual plaintiffs to seek damages for fraud. The fraud claims may not be certified as

 a class, but can be pursued individually.

 VI. Motion to Dismiss Plaintiffs' Claims for Personal Injury, or Alternatively Motion for

 Judgment on the Pleadings on Plaintiffs' Request for Class Certification

         In the factual allegations and Count I of the Administrative Master Complaint, Plaintiffs

 allege that they have suffered personal injuries and bodily harm as a result of Murphy's


        2 Plaintiffs have cited to the U.S. Supreme Court's decision in Affiliated Ute Citizens of
 Utah v. U.S., 406 U.S. 128, 153-54 (1972), as supporting their argument that they do not need to
 prove individual reliance in cases of fraudulent omission or nondisclosure. That case involved
 claims under federal law for securities fraud. While the case states that proof of reliance is not
 required under the facts presented therein, it does not speak to the specific issue presented here -
 whether the Louisiana law of fraud requires proof of individual reliance. Given the binding
 precedent of the Fifth Circuit on this issue, the Court finds that the standard presented for
 fraudulent omissions in Affiliated Ute Citizens is not applicable to this case.

                                                 -15-
   Case
    Case2:10-md-02179-CJB-DPC
          2:05-cv-04206-EEF-JCW Document
                                 Document1440-23 Filed
                                          104 Filed    02/28/11Page
                                                     12/29/05    Page
                                                                    1617
                                                                       of of
                                                                          2122



· negligence and misstatements arising from the oil spill. Plaintiffs allege that they have suffered

 personal injuries in attempting to re-enter their oil-damaged properties. Defendant objects to

 Plaintiffs' allegations ofbodily harm because 1) they have not been pled with specificity, and 2)

 they cannot be certified as a class action because they require individualized scrutiny. Plaintiffs

 argue that these claims are pled in compliance with federal notice pleading requirements. In

 addition, Plaintiffs argue that judgment on the pleadings is inappropriate because individualized

 damages are not an absolute bar to class certification in mass tort cases.

         Rule 8 of the Federal Rules of Civil Procedure only requires notice pleading: all that is

 required is a short and plain statement of the claim that fairly apprises the defendant of the claim

 itself and the grounds upon which it is based. Conley v. Gibson, 355 U.S. 41,47 (1957).

 Plaintiffs' allegations meet the standard for notice pleading; accordingly, Defendant's motion to

 dismiss these allegations is DENIED. Plaintiffs allege how the bodily harm occurred - re-entry

 of the damaged properties - and the legal basis for recovery - Louisiana tort law. Moreover, the

 Defendant's contention that class certification is inappropriate as a matter of law for personal

 injury claims is incorrect. The U.S. Supreme Court has held that class certification under Rule

 23 can occur in mass tort cases when the cases meet Rule 23's requirements of commonality,

 typicality, numerosity, and adequacy of representation. Amchem Prods., Inc. v. Windsor, 521

 U.S. 591,625 (1997). Although the standards are strict, personal injury cases have been certified

 under Rule 23 in the Fifth Circuit. See Mullen v. Treasure Chest Casino, LLC, 186 F.3d 620,

 624-29 (5th Cir. 1999) (affirming certification of class of individuals suffering from respiratory

 illness caused by defective ventilation system). Plaintiffs should be entitled to present evidence

 supporting their class action allegations for personal injury.

                                                 -16-
  Case
   Case2:10-md-02179-CJB-DPC
         2:05-cv-04206-EEF-JCW Document
                                Document1440-23 Filed
                                         104 Filed    02/28/11Page
                                                    12/29/05    Page
                                                                   1718
                                                                      of of
                                                                         2122



"' VII. Motion to Dismiss Plaintiffs' Claims for Mental Anguish, or Alternatively, Motion for

 Judgment on the Pleadings on Ptaintiffs' Request for Class Certification

           In their Prayer for Relief and their Facts and General Allegations, Plaintiffs request

 damages for mental anguish and emotional distress, among others. In addition, Plaintiffs request

 damages for mental pain and suffering under their fraud claim. There are no other specific

 requests for mental anguish damages.

           Defendant challenges Plaintiffs' claims for mental anguish damages on a number of

 grounds. First, Defendant argues that these damages are not available because plaintiffs did not

 witness their property damage, suffered no physical injuries, and were not in fear for their

 personal safety at the time of the spill. Alternatively, Defendant argues that the mental anguish

 claims should be subject to judgment on the pleadings because the claims cannot be certified as a

 class action. According to Defendant, the alleged mental anguish damages necessarily vary

 widely among the putative class members, and each individual's damages must be separately

 proved.

           Plaintiffs, however, argue that mental anguish damages are available in this case under

 their theory of nuisance pursuant to Louisiana Civil Code 667. Moreover, Plaintiffs argue that

 proof of individual damages is not required under Louisiana law when the tortious conduct

 presents a special likelihood of genuine and serious mental distress arising from special

 circumstances. The evacuation caused by Hurricane Katrina presents such a "special

 circumstance" in this case, making their global allegations of injury appropriate, Plaintiffs

 contend. Regarding Defendant's motion for judgment on the pleadings denying class



                                                   -17-
   Case
    Case2:10-md-02179-CJB-DPC
          2:05-cv-04206-EEF-JCW Document
                                 Document1440-23 Filed
                                          104 Filed    02/28/11Page
                                                     12/29/05    Page
                                                                    1819
                                                                       of of
                                                                          2122



· certification on this issue, Plaintiffs argue that mental anguish damages are certifiable as a class

 action under Rule 23. Plaintiffs argue that many courts have certified classes where individual

 damages vary widely: the issue is whether the elements of the claim meet Rule 23's

 predominance requirements.

         Mental anguish damages are available in Louisiana for accompanying property damage in

 four situations: 1) the property is damaged by an intentional or illegal act; 2) the property is

 damaged by acts for which the tortfeasor is strictly or absolutely liable; 3) the property is

 damaged by acts constituting a nuisance; or 4) the property is damaged when the owner is present

 or situated nearby and suffers psychic trauma as a result. Kemper v. Don Coleman, Jr., Builder,

 Inc., No. 31,576 (La. App. 2d Cir. 7/29/99), 746 So.2d 11,20-21; Boudreaux v. State, 2004-0985

 (La. App. 1st Cir. 6110/05), 906 So.2d 695, 707. Moreover, proof of individual injury is not

 required when there is a special likelihood of genuine and serious mental distress arising from

 special circumstances, which circumstances ensure that the claim is not spurious. Moresi v.

 State, 567 So.2d 1081, 1096 (La. 1990). Thus, because Plaintiffs' claim for mental anguish

 damages is properly pled, Defendant's motion to dismiss is DENIED. Moreover, Defendant is

 not entitled to judgment on the pleadings regarding class certification. Mental anguish damages

 are unlike fraud, where individual reliance is an element of the tort itself. While Plaintiffs'

 individual damages will vary widely, the elements of the claims maybe common enough to merit

 class certification. The Fifth Circuit puts no absolute bar upon class certification of such claims.

 The Court reserves ruling on certification of claims for mental anguish damages until the class

 certification hearing.




                                                  -18-
      Case
       Case2:10-md-02179-CJB-DPC
             2:05-cv-04206-EEF-JCW Document
                                    Document1440-23 Filed
                                             104 Filed    02/28/11Page
                                                        12/29/05    Page
                                                                       1920
                                                                          of of
                                                                             2122



<   VIII. Motion to Dismiss Plaintiffs' Claims for Fear/Risk of Future Disease or Illness, or

    Alternatively Motion for Judgment on the Pleadings on Plaintiffs' Request for Class

    Certification

            Plaintiffs have alleged damages in the form of fear of cancer and other diseases in their

    Prayer for Relief, Facts and General Allegations, and under their fraud claim. Defendant moves

    the Court to dismiss the Plaintiffs' claims for these damages for similar reasons as their mental

    anguish damages. Defendant argues that damages for fear of future disease are not available

    under Louisiana law to the Plaintiffs. Alternatively, Defendant argues that the claims for these

    damages should be dismissed because they cannot be litigated in a class action format.

            Plaintiffs, however, argue that they have pled their entitlement to damages for "fear of

    cancer and/or other illness" with enough specificity to survive a motion to dismiss. Plaintiffs

    argue that Defendant concedes that the damages are properly pled, but that the Defendant asks

    the Court to determine factual issues prior to presenting evidence of these damages.

            The Fifth Circuit recognizes recovery of damages for serious mental distress arising from

    fear of developing cancer: the plaintiff must proffer evidence of his specific fear of that

    condition. Smith v. A.C. & S., Inc., 843 F.2d 854,855 (5th Cir. 1988). However, Louisiana law

    is more specific than the Smith standard. Louisiana provides for recovery of damages for fear of

    contracting a serious latent illness, provided that the plaintiff can demonstrate 1) significant

    exposure to a hazardous substance; 2) as a proximate cause of this exposure, significantly

    increased risk to plaintiff of contracting a serious latent disease; 3) risk to plaintiff of contracting

    a serious latent disease that is greater than the risk had the plaintiff not been exposed and greater



                                                      -19-
   Case
    Case2:10-md-02179-CJB-DPC
          2:05-cv-04206-EEF-JCW Document
                                 Document1440-23 Filed
                                          104 Filed    02/28/11Page
                                                     12/29/05    Page
                                                                    2021
                                                                       of of
                                                                          2122



• than the risk to the general public; 4) a monitoring procedure making early detection of the

 disease possible; 5) the monitoring procedure is prescribed by a physician and is reasonably

 necessary; 6) the monitoring procedure is different than that normally recommended in the

 absence of exposure; and 7) demonstrated clinical value in early detection and diagnosis of the

 disease. Bonnette v. Conoco, Inc., 2001-2767 (La. 1/28/03),837 So.2d 1219, 1229-30.

 Defendant argues that this standard requires two important elements that Plaintiffs have entirely

 failed to allege - significant exposure, and symptomatic plaintiffs. Defendant contends that any

 exposure to crude oil is not significant in these cases, and that Plaintiffs fail to allege that any

 plaintiff actually suffers or will suffer from an increased risk of contracting a serious latent

 disease.

         Plaintiffs conceded at oral argument that the appropriate standard for fear of cancer

 damages was set forth in Bonnette by the Louisiana Supreme Court. However, Plaintiffs argued

 that their allegations met that standard,·as they have alleged that the oil spill presented a hazard

 to human health (Paragraph 21 ofthe Administrative Master Complaint), and that any exposure

 cause risks to the Plaintiffs' health (Paragraphs 29W-X), and that they suffer injury in the form of

 fear of cancer and/or other illness (paragraphs 25 & 30). However, there are no allegations

 regarding medical monitoring. Moreover, none of the individual cases claiming fear of cancer

 damages include allegations regarding medical monitoring. In Bonnette, the Louisiana Supreme

 Court required such a stringent standard for compensatory damages for fear of cancer because

 this stringent standard already applied to an award of medical monitoring itself: the court

 reasoned that the standard for damages should be at least as strict as that required for medical

 monitoring. 837 So.2d at 1231. Because the Administrative Master Complaint and individual

                                                   -20-
     Case
      Case2:10-md-02179-CJB-DPC
            2:05-cv-04206-EEF-JCW Document
                                   Document1440-23 Filed
                                            104 Filed    02/28/11Page
                                                       12/29/05    Page
                                                                      2122
                                                                         of of
                                                                            2122



<   complaints fail to allege all the elements required for the recovery of fear of cancer damages

    under Louisiana law, the Court GRANTS the Defendant's motion to dismiss Plaintiffs' claims

    for these damages for failure to state a claim upon which relief may be granted.

    IX. Conclusion

           Accordingly, Defendant's Rule 12(b)(6) Motion to Dismiss Plaintiffs' Class Action

    Administrative Master Complaint for Lack of Standing is DENIED. Defendant's Rule 12(b)(6)

    Motion to Dismiss Plaintiffs' Claims for Punitive Damages is DENIED. Defendant's Rule

    12(b)(6) Motion to Dismiss Plaintiffs' Claims under CERCLA, RCRA, OPA and LA.R.S.

    30:2015.1 for Failure to State a Claim Upon Which Relief Can Be Granted is GRANTED IN

    PART, DENIED IN PART, and DENIED IN PART AS MOOT. Defendant's Rule 12(b)(6)

    Motion to Dismiss Plaintiffs' Fraud Claims or Alternatively Motion for Judgment on the

    Pleadings on Plaintiffs' Class Allegations is GRANTED. Defendant's Rule 12(b)(6) Motion to

    Dismiss Plaintiffs' Claims for Personal Injury or Alternatively Motion for Judgment on the

    Pleadings on Plaintiffs' Request for Class Certification is DENIED. Defendant's Rule 12(b)(6)

    Motion to Dismiss Plaintiffs' Claims for Mental Anguish or Alternatively Motion for Judgment

    on the Pleadings on Plaintiffs' Request for Class Certification is DENIED. Defendant's Rule

    12(b)(6) Motion to Dismiss Plaintiffs' Claims for Fear/Risk of Future Disease or illness or

    Alternatively Motion for Judgment on the Pleadings on Plaintiffs' Request for Class Certification

    is GRANTED.




                                                   -21-
